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           16                       UNITED STATES DISTRICT COURT
           17             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           18
                    MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           19       a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,                  APPLE’S MEMORANDUM IN
           20       a Delaware corporation,                       SUPPORT OF ITS MOTION TO
                                                                  STRIKE PLAINTIFFS’ UNTIMELY
           21                          Plaintiffs,                NOVEMBER 2022 SUPPLEMENT TO
                                                                  APPLE INTERROGATORY NO. 33
           22             v.
                    APPLE INC.,                                   Date: February 6, 2023
           23
                    a California corporation,                     Time: 1:30pm
           24
                                       Defendant.
                                                     Pre-Trial Conference: Mar. 13, 2023
           25
                                                     Trial: Mar. 27, 2023
           26                              REDACTED VERSION OF
                                  DOCUMENT PROPOSED TO BE FILED UNDER SEAL
           27
           28        MEM. ISO MOTION TO STRIKE PLAINTIFFS’ UNTIMELY NOVEMBER 2022 SUPPLEMENT TO APPLE
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             1                                      I.     INTRODUCTION
             2            In the few months that remain in this case before trial, Plaintiffs have fallen into
             3      a pattern. They (1) identify a hole in their affirmative case months after the relevant
             4      deadline has passed, (2) belatedly serve Apple with a document (or documents) that
             5      purports to fill that hole without attempting to justify, or even explaining, its
             6      untimeliness, and, when pressed, (3) demand that Apple identify prejudice suffered
             7      from Plaintiffs’ dilatory tactics (even though the Federal Rules of Civil Procedure
             8      place the burden on Plaintiffs to show harmlessness). See, e.g., Dkt. 1031 (order
             9      granting in part Apple’s motion to strike Plaintiffs’ Rule 26(a)(2)(C) disclosures for,
           10       inter alia, including new information not disclosed in fact discovery); Dkt. 1071 (order
           11       granting in part Apple’s motion to strike reasonable royalty theory not disclosed in fact
           12       discovery); see also Dkt. 899 at 4-5 (“[T]he Court declines to allow [Plaintiffs to]
           13       expan[d] this trade secret nearly three years into the case and only seven months before
           14       trial.”). As this Court recently observed, for example,
           15
           16
           17                               Dkt. 1071 at 5 & n.4.
           18             This motion involves the latest instance of Plaintiffs’ eleventh-hour attempts to
           19       shore up their case. The night before Thanksgiving, Plaintiffs served a supplement to
           20       Apple’s Interrogatory No. 33, identifying for the first time their contentions regarding
           21       the ownership of each of the purported trade secrets in this litigation. See Ex. 1 at 7-
           22       12. Plaintiffs’ supplemental response was notable not only because it came nearly 15
           23       weeks after the close of fact discovery and after all expert reports had been served, but
           24       because Plaintiffs had refused to provide the same information in response to an earlier
           25       motion to compel. Plaintiffs have offered no justification for their extreme delay in
           26       providing information regarding ownership, even though it is an element of their trade
           27
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             1      secret claims and information entirely within their possession. And while it is
             2      Plaintiffs’ burden to show harmlessness, had Apple had Plaintiffs’ purported
             3      ownership information earlier, Apple’s summary judgment strategy and expert
             4      disclosures would have been different.
             5            At this late stage in the litigation, Plaintiffs’ repeated and unexplained untimely
             6      disclosures of new information cannot reasonably be considered an accident. Rather,
             7      Plaintiffs appear to have strategically disregarded this Court’s instruction that it is “not
             8      amenable to a party withholding necessary discovery until the eve of the close of
             9      discovery and/or expert reports,” Dkt. 816 at 10 n.6, gambling that at least some of
           10       their belated attempts to introduce new material will slip through, that Apple will have
           11       simply too many new disclosures to challenge, or that they will be given an
           12       opportunity to cure. This Court should require Plaintiffs to follow the rules and
           13       enforce its warning from many months ago that a failure to be “forthcoming with …
           14       discovery responses” will result in “late-disclosed material stricken.” Id.
           15                                        II.    BACKGROUND
           16             A.      Plaintiffs Refuse To Provide Any Specific Information About Trade
           17                     Secret Ownership
           18             On May 13, 2022, Apple served Plaintiffs with Interrogatory No. 33, which
           19       asked Plaintiffs to identify, “[f]or each alleged Trade Secret … each and every owner
           20       of the alleged Trade Secret, from conception of the alleged Trade Secret to date,
           21       including the specific time period” of ownership and “the circumstances regarding the
           22       change in ownership.” Ex. 1 at 7. Plaintiffs responded with a single paragraph, which
           23       stated that
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           25                                                         Id.
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             1            Apple notified Plaintiffs that their response was missing important information,
             2      including
             3                                                                 and asked them to
             4      supplement their response. Ex. 2 at 6. During the subsequent meet and confer,
             5      Plaintiffs acknowledged their response lacked information regarding
             6                                        but argued that this information was irrelevant. Ex. 3
             7      at 1. In response, Apple explained that “ownership is an element of a trade secret
             8      claim” and cited several California decisions in support of this position. Id. at 1; see
             9      also Ex. 4 at 1-2 (subsequent Apple letter providing additional case law). Plaintiffs
           10       answered in a letter sent two weeks later by arguing that California law only requires a
           11       showing that the plaintiff possessed the trade secret. Ex. 5 at 1.
           12             B.     Apple Moves To Compel And The Special Master Warns Plaintiffs In
           13                    Early October That Failure To Disclose Ownership Information
           14                    “Comes At Plaintiffs’ Own Potential Peril”
           15             Apple subsequently filed a motion to compel with the Special Master, seeking
           16       the ownership information that Plaintiffs refused to provide. See Ex. 6. Plaintiffs
           17       opposed, representing for the first time that Plaintiffs “do[] not maintain such
           18       information in the ordinary course of business because [they] do[] not distinguish
           19       between trade secrets owned by Masimo Corp. or Cercacor.” Ex. 7 at 1. Plaintiffs
           20       further represented that they
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           23                                 Id.; see also Ex. 8 at 1 (Apple’s reply brief noting that
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             1            The Special Master’s tentative denied Apple’s motion to compel. Ex. 9 at 7-8.
             2      The Special Master found that Apple had not shown relevance because the “dispute
             3      about” whether “ownership [i]s an element” of Plaintiffs’ trade secret claims “will
             4      ultimately need to be decided by Judge Selna, and the Special Master declines to
             5      embark on an advisory recommendation on that point.” Id. at 7. However, the Special
             6      Master warned that “Plaintiffs’ decision to proceed forward in discovery without
             7      attempting to determine specific trade secret ownership information or disclosing that
             8      information to Apple comes at Plaintiffs’ own potential peril.” Id. at 8.
             9            The hearing was held on October 3, 2022. There, Apple
           10
           11                                                  to Interrogatory No. 33. Dkt. 965-9 at 230.
           12       Apple explained that “if Apple is correct” that Plaintiffs must show ownership, “then
           13       the response to Interrogatory 33
           14
           15       Accordingly, Apple “would expect to move to preclude any attempt by [P]laintiffs to
           16       later try to backfill on this ownership issue” at the summary judgment stage. Id.; see
           17       also id. at 231 (“If [Plaintiffs] try to [present evidence on the ownership issue] later,
           18       we will move to preclude.”).
           19             In response, Plaintiffs maintained their objections on the legal standard;
           20       however, the Special Master’s warning apparently caused them to revisit their prior
           21       representations regarding a lack of further responsive information to provide.
           22       Plaintiffs stated that “in light of the tentative statement that we do proceed at our own
           23       peril, we’ve looked at this again … and we do intend to supplement and will provide
           24       the information that we can.” Dkt. 965-9 at 232. Upon questioning from the Special
           25       Master, Plaintiffs agreed that “this [is] the first time that offer to supplement has been
           26       at play.” Id. at 233. Apple noted that because “[w]e don’t know what it is that they
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             1      will be saying in their response[,] … it may put us in a difficult position if we learn
             2      new information that we then have to seek further discovery on.” Id. Accordingly,
             3      “[w]e’ll have to see what it is they propose to offer. But if it’s something that they
             4      offer that then tries to itself backfill, we may have to come back to Your Honor.” Id. at
             5      234.
             6             The Special Master’s final ruling included the language quoted above from the
             7      tentative. See Dkt. 970 at 11. It also acknowledged that, “[a]t the hearing, …
             8      Plaintiffs stated for the first time that they intend to supplement their response to
             9      Apple’s Interrogatory No. 33” and “it appears that Apple will get from Plaintiffs at
           10       least some of what it had been asking for.” Id.
           11              C.    Plaintiffs Serve Their Supplement To Interrogatory No. 33 The Night
           12                    Before Thanksgiving
           13              Following their statements at the October 3 hearing, Plaintiffs remained silent on
           14       ownership for over seven weeks. Then, at 6:39pm PT on the night before
           15       Thanksgiving, Plaintiffs served a supplemental response to Interrogatory No. 33 that
           16       purports to identify the ownership of each of the alleged trade secrets. Ex. 10 at 4.
           17       Plaintiffs’ email serving the supplemental response provided no justification for their
           18       delay. Id. When Apple inquired why Plaintiffs waited until nearly 15 weeks after the
           19       close of fact discovery and after all expert reports had been served in order to provide
           20       the supplement, Plaintiffs were silent for several days. Id. at 2. They then asserted
           21       that they were merely providing the “supplement … as sought by Apple from the
           22       Special Master after the close of discovery” and blamed Apple for failing to “indicate
           23       any timing issue or purported urgency of a supplemental response during or after that
           24       hearing.” Id. The parties met and conferred, but were unable to agree on the propriety
           25       of the supplemental response.
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             1                                     III.   ARGUMENT
             2         A.     Plaintiffs’ Untimely Supplemental Response Violated FRCP 26(e)
             3         FRCP 26(e) provides that “[a] party who … has responded to an interrogatory
             4   … must supplement or correct its disclosure or response … in a timely manner if the
             5   party learns that in some material respect the disclosure is incomplete or incorrect.” In
             6   other words, parties are encouraged “to try cases on the merits, not by surprise, and not
             7   by ambush.” Ollier v. Sweetwater Union High Sch. Dist., 768 F.3d 843, 861-864 (9th
             8   Cir. 2014); see also L.A. Terminals, Inc. v. United Nat’l Ins. Co., 340 F.R.D. 390, 396
             9   (C.D. Cal. Feb. 2, 2022) (“‘[S]upplementation of … responses after the close of
           10    discovery … is consistent with the spirit behind the discovery rules, which is to
           11    promote a liberal discovery process in an effort to narrow the issues for trial and to
           12    prevent unfair surprise.’”). Moreover, as this Court recently explained, “[t]he parties
           13    are expected to supplement and/or correct their disclosures promptly when required
           14    under [FRCP 26(e)], without the need for a request from opposing counsel or an order
           15    from the Court.” Dkt. 1031 at 3 (quoting Jones v. Travelers Cas. Ins. Co. of Am., 304
           16    F.R.D. 677, 678-679 (N.D. Cal. 2015)).
           17          Plaintiffs’ strategic decision to wait six-and-a-half months after Apple’s initial
           18    discovery request to disclose ownership information within their control during that
           19    whole period violated FRCP 26(e).
           20          First, the duty to supplement arises when “there is an objectively reasonable
           21    likelihood that the additional [missing] … information could substantially affect or
           22    alter the opposing party’s discovery plan or trial preparation.” L.A. Terminals, 340
           23    F.R.D. at 396. Here, as Apple explained in the parties’ correspondence and its motion
           24    to compel, the better reading of California case law is that ownership is an element of a
           25    trade secret claim—i.e., Plaintiffs have the burden to show that they owned each
           26    purported trade secret that they alleged Apple misappropriated. See, e.g., Mattel, Inc.
           27
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             1   v. MGA Ent. Inc., 782 F. Supp. 2d 911, 960 & n.13 (C.D. Cal. 2011). While Plaintiffs
             2   disagree with that reading of the case law, Apple has long intended to raise Plaintiffs’
             3   failure to provide any evidence regarding ownership (and the surrounding dispute over
             4   the legal standard) at the summary judgment stage and, if necessary, raise the issue at
             5   trial. Plaintiffs’ eleventh-hour supplemental response requires Apple to reformulate
             6   that aspect of its litigation strategy and its decision to delay affected Apple’s discovery
             7   efforts (e.g., in terms of the questions it asked Plaintiffs’ deponents) and will affect its
             8   trial preparation (e.g., in terms of how much time Apple will devote to particular
             9   witnesses and the questions it will ask on cross-examination).1
           10             Second, Plaintiffs’ supplemental response is not timely. While there is no fixed
           11    legal test for determining timeliness under FRCP 26(e), courts have considered the
           12    following circumstances to be “relevant” to the inquiry: “1) when the relevant request
           13    for production was made; 2) when [the non-moving party] was or should have been
           14    aware of the information that is the subject of the supplementation; and 3) whether the
           15    supplementation was delayed due to factors beyond its control.” LD v. United Behav.
           16    Health, 2022 WL 4372075, at *7 (N.D. Cal. Sept. 21, 2022 (citing, inter alia, L.A.
           17    Terminals)).
           18             Considering these factors, there is no reasonable argument that Plaintiffs’
           19    November 23, 2022 supplemental response was served at an appropriate time. Apple
           20    first requested the ownership information six months ago. That information was solely
           21    in Plaintiffs’ control, as Plaintiffs themselves declared in June 2022 that the purported
           22    trade secrets have always been owned by
           23                                          See supra pp. 2-3. Finally, Plaintiffs have not
           24
                 1
           25      Plaintiffs have suggested ownership information is somehow less important because
                 it can be described as a “legal conclusion” rather than a fact. Ex. 10 at 2. But “[a]n
           26    interrogatory is not objectionable merely because it asks for an opinion or contention
                 that relates to … the application of law to fact.” Fed. R. Civ. P. 33(a)(2); see United
           27    States ex rel. O’Connell v. Chapman, 245 F.R.D. 646, 649 (C.D. Cal. 2007).
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             1   identified any “factors beyond [their] control” that delayed the supplemental response.
             2   While Plaintiffs have previously indicated that they did not maintain ownership
             3   information in the normal course of business, the November 23 supplemental response
             4   shows that it was possible to compile that information—the only thing lacking was the
             5   will to do so. Cf. Rojas v. MarkoZaninovich, Inc., 2011 WL 4375297, at *6 (E.D. Cal.
             6   Sept. 19, 2011) (“When the lawyers maintain control of the information and parse out
             7   only what they choose, this presents a real risk of sandbagging[.]”).
             8         Plaintiffs’ primary response to the timeliness issue is, as usual, to point the
             9   finger at Apple. See supra p. 5. For example, Plaintiffs have suggested that
           10    Interrogatory No. 33 and Apple’s subsequent motion to compel were themselves
           11    untimely. Ex. 10 at 2. But Apple served Interrogatory No. 33 on May 13, 2022, which
           12    was within the time that this Court allotted. See Dkt. 627 at 2 (listing May 13 as the
           13    “[l]ast day to serve RFPs and ROGs”). Plaintiffs themselves served ten interrogatories
           14    the same day. See Ex. 11.
           15          Apple also timely filed its motion to compel. This Court’s Order For Jury Trial
           16    Setting Dates provides that “[a]ny motion respecting the inadequacy of responses to
           17    discovery must be filed and served not later than ten days (10) days after the discovery
           18    cut −off date.” Dkt. 36 at 3. Here, fact-discovery closed on August 12, 2022, Dkt. 627
           19    at 2, and Apple filed its motion to compel on August 22, supra p. 3. Moreover, Apple
           20    sent multiple letters in the weeks before the motion was filed requesting that Plaintiffs
           21    supplement their interrogatory to provide the missing ownership information. See
           22    supra pp. 2-3.
           23          Plaintiffs have relatedly argued that Apple is somehow at fault for not having
           24    been even more aggressive in pressing Plaintiffs to provide their supplemental
           25    response—either at the hearing in front of the Special Master or afterwards. Ex. 10 at
           26    2. But as noted above, Rule 26(e) requires supplementation “without the need for a
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             1   request from opposing counsel or an order from the Court.” Dkt. 1031 at 3.
             2   Regardless, Apple’s counsel made clear at the hearing that the ownership information
             3   was relevant to Apple’s summary judgment arguments and that Apple expected to
             4   move to preclude any belated attempts to “backfill” missing information. See supra
             5   pp. 4-5.
             6         B.     Plaintiffs Cannot Meet Their Burden To Show The Belated
             7                November 23 Supplemental Response Is Substantially Justified Or
             8                Harmless
             9         As this Court has reinforced, “‘Rule 37 mandates that a party’s failure to comply
           10    with the obligations under Rule 26(e)(1) results in that party being precluded from ‘use
           11    of that information … to supply evidence on a motion, at a hearing or at trial, unless
           12    the failure was substantially justified or is harmless.’” Dkt. 1031 at 3. The
           13    “noncompliant party” has the burden to show substantial justification or harmlessness.
           14    See Merchant v. Corizon Health, Inc., 993 F.3d 733, 740 (9th Cir. 2021). Plaintiffs
           15    cannot meet their burden.
           16          As to substantial justification, Plaintiffs have provided no persuasive
           17    explanation for why the ownership information could not have been provided prior to
           18    the close of discovery or—at a minimum—promptly after they pledged to proffer it at
           19    the October 3, 2022 hearing. Plaintiffs’ lone response appears to be that they provided
           20    equivalent information in response to Interrogatory No. 6, which asked for facts
           21    regarding the development of Plaintiffs’ trade secrets. See Ex. 10 at 2. But nothing in
           22    Plaintiffs’ responses to that interrogatory identifies the ownership of any of the
           23    purported trade secrets—the words “own” or “ownership” do not even appear once.
           24    See Ex. 12. Plaintiffs have also suggested that they provided three 30(b)(6) witnesses
           25    who could have testified on the ownership issue. Ex. 10 at 2. But as Apple has
           26    previously explained,
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           28     MEM. ISO MOTION TO STRIKE PLAINTIFFS’ UNTIMELY NOVEMBER 2022 SUPPLEMENT TO APPLE
                  INTERROGATORY NO. 33
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                                                            9         CASE NO. 8:20-cv-00048-JVS (JDEX)
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             2                  See Dkt. 959 at 9-10; Dkt. 1031 at 7-8. And Plaintiffs limited the third
             3   witness to
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           10          And while Apple is “not required to articulate how [it] would be prejudiced” by
           11    Plaintiffs’ FRCP 26(e) violation, Torres v. City of L.A., 548 F.3d 1197, 1213 (9th Cir.
           12    2008), Plaintiffs cannot reasonably show harmlessness. Plaintiffs’ tactical decision to
           13    serve their response months after the close of fact discovery deprived Apple of the
           14    opportunity to use fact discovery to test their allegations (e.g., through pointed
           15    questions to Plaintiffs’ deposition witnesses about the specific statements in the
           16    supplemental response). It also deprived Apple’s experts of the opportunity to address
           17    the new ownership information in assessing whether Plaintiffs had laid out a basis for a
           18    valid trade secret claim. In sum, allowing Plaintiffs to raise “previously undisclosed,
           19    fully-formed … theories” regarding ownership would “prejudice Apple at this late
           20    hour.” Dkt. 1031 at 10.
           21                                     IV.    CONCLUSION
           22          Apple respectfully requests that this Court strike Plaintiffs’ November 23, 2022
           23    supplemental response to Apple’s Interrogatory No. 33.
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           28     MEM. ISO MOTION TO STRIKE PLAINTIFFS’ UNTIMELY NOVEMBER 2022 SUPPLEMENT TO APPLE
                  INTERROGATORY NO. 33
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                                               #:70296

             1   Dated: December 19, 2022            Respectfully submitted,
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           28    MEM. ISO MOTION TO STRIKE PLAINTIFFS’ UNTIMELY NOVEMBER 2022 SUPPLEMENT TO APPLE
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